                         Case 6:18-bk-07237-CCJ            Doc 39      Filed 05/14/19      Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                05/14/2019 02:45 PM
                                                                COURTROOM 6D, 6th Floor
HONORABLE CYNTHIA JACKSON
CASE NUMBER:                                                    FILING DATE:
6:18-bk-07237-CCJ                        7                        11/20/2018
Chapter 7
DEBTOR:                Charles Zeek
                       Kimberly Zeek
DEBTOR ATTY:           Michael Faro
TRUSTEE:               Richard Webber
HEARING:
Motion by Trustee to Sell Property Free
and Clear of Liens. Property description:
1502 Giles St. Nw, Palm Bay, FL 32907
Parcel ID 28-36-27-KN-01800.0-0028.00
(Doc #35)
Response by Bank of America to Motion
to Sell (Doc #37)
Note:
Amended Order Granting Motion For Relief
From Stay by Bank of America re: 1502
Giles Street NW, Palm Bay, FL 32907
(Doc #32) entered 4/1/19

APPEARANCES:: Richard Webber: Chp. 7 Trustee; Lorne Durket: Bank of Ameria Atty

RULING: Motion by Trustee to Sell Property Free and Clear of Liens. Property description:
1502 Giles St. Nw, Palm Bay, FL 32907 Parcel ID 28-36-27-KN-01800.0-0028.00 (Doc #35) - AGREED AS DISCUSSED IN
OPEN COURT; ORDER BY WEBBER.                  (WC)
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                   Case Number 6:18-bk-07237-CCJ                     Chapter 7
